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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



        v.                                            Criminal Action No. 21-6 (TJK)

DOUGLAS AUSTIN JENSEN,

                Defendant.


                                       MEMORANDUM ORDER

        The Government moves in limine for an order deeming admissible Government Exhibits

509 and 525. See ECF No. 81. These two exhibits are videos, each less than one minute long, that

depict Officer Eugene Goodman and U.S. Capitol Police Inspector Thomas Loyd in separate in-

teractions with rioters outside the Capitol on January 6, 2021, shortly before they encountered

Defendant inside the Capitol. See id. Defendant opposes their admission, arguing that they are

not relevant under Federal Rule of Evidence 401 and that, even if relevant, their probative value is

substantially outweighed by a danger of unfair prejudice and of the needless presentation of cu-

mulative evidence under Federal Rule of Evidence 403. See ECF No. 83. These videos are rele-

vant under Rule 401, and the balancing required by Rule 403 favors their admission, so the Court

will grant the Government’s motion in limine, subject to the Government laying the proper foun-

dation for their admission at trial.

        Under Rule 401, evidence is “relevant” if it “(a) has any tendency to make a fact more or

less probable than it would be without the evidence; and (b) the fact is of consequence in deter-

mining the action.” These videos tend to make at least one consequential fact more probable than
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it would be without the evidence—whether Defendant’s alleged actions on January 6 would have

caused a reasonable person in Officer Goodman’s and Inspector Loyd’s shoes to fear bodily harm.

       In Count Three of the operative indictment, Defendant is charged with “forcibly” assault-

ing Officer Goodman under 18 U.S.C. § 111(a)(1). See ECF No. 50 at 2. In Count Five, he is

charged with “disorderly . . . conduct” inside the Capitol under 18 U.S.C. § 1752(a)(2). See ECF

No. 50 at 3. In Count Six, he is charged with “disorderly . . . conduct” inside the Capitol under 40

U.S.C. § 5104(e)(2)(D). See ECF No. 50 at 3–4. Under § 111(a)(1), the “force” element may be

satisfied “by proof of ‘such a threat or display of physical aggression toward the officer to inspire

fear of pain, bodily harm, or death.’” United States v. Schrader, 10 F.3d 1345, 1348 (8th Cir.

1993) (quoting United States v. Walker, 835 F.2d 983, 987 (2d Cir. 1987)). The “standard for

determining whether the requisite degree of force was displayed . . . is an objective one, i.e.,

whether the defendant’s behavior would reasonably have inspired fear in a reasonable per-

son.” Walker, 835 F.2d at 987. Similarly, to prove disorderly conduct under § 1752(a)(2) and

§ 5104(e)(2)(D), the Government can show that Defendant acted “in such a manner as to cause

another person to be in reasonable fear that [she] . . . is likely to be harmed.” See ECF No. 76-2

at 24 (joint proposed jury instructions). In other words, each of these three charged crimes may

be proven in part by evidence suggesting that a reasonable person would have feared harm from

Defendant’s actions.

       Critically, this “reasonable person” is not an abstraction but someone “standing in the official’s

shoes,” Walker, 835 F.2d at 987, and “who observes what the official observes,” United States v.

Acosta-Sierra, 690 F.3d 1111, 1121 (9th Cir. 2012). In this analysis, the officer’s “subjective state

of mind is not irrelevant” but is probative of whether the defendant’s actions would have caused a

reasonable person to fear harm. See Walker, 835 F.2d at 987 (citing United States v. O’Connell,

703 F.2d 645, 650 (1st Cir. 1983)). Similarly, the officer’s subjective knowledge in the moment


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is relevant—whether that knowledge is of the defendant’s alleged actions specifically or of the

wider context in which the defendant’s alleged actions occurred. See, e.g., United States v. Fallen,

256 F.3d 1082, 1086–87 (11th Cir. 2001) (accounting for what “the agents knew” about the de-

fendant’s criminal history and actions when assessing the sufficiency of the evidence on the

“force” element of an 18 U.S.C. § 111(a)(1) conviction); United States v. Smith, 973 F.2d 603,

604–05 (8th Cir. 1992) (finding that evidence of “violent crime in the area” where the defendant

robbed a bank was relevant to the inquiry under 18 U.S.C. § 2113(a), which is governed by a

similar reasonable-person standard).

       Government Exhibits 509 and 525 illuminate what Officer Goodman and Inspector Loyd

experienced just before they encountered Defendant in the Capitol in January 6, and thus their state

of mind and knowledge when they did encounter him. However put, this evidence informs whether

a reasonable person in their shoes would have feared harm from Defendant’s alleged actions that

day. As a result, these videos are relevant evidence under Rule 401.

       Of course, under Rule 403, the Court may exclude relevant evidence such as this “if its

probative value is substantially outweighed by a danger of . . . unfair prejudice . . . or needlessly

presenting cumulative evidence.” Defendant argues that both dangers are present here and that

they require excluding this evidence. Not so.

       “The term ‘unfair prejudice’ . . . speaks to the capacity of some concededly relevant evi-

dence to lure the factfinder into declaring guilt on a ground different from proof specific to the

offense charged.” Old Chief v. United States, 519 U.S. 172, 180 (1997). Defendant asserts that

this danger is present here because he is not depicted in these videos, yet upon viewing them the

jury might be inclined to impute the violence they see in these videos to him. Presuming he is

right about this latter point, any risk of such unfair prejudice can be mitigated through a limiting




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instruction. See, e.g., United States v. Bell, 795 F.3d 88, 100 (D.C. Cir. 2015). Balancing the

relevance of these videos against their (mitigated) potential of unfair prejudice, the Court finds

that their probative value is not substantially outweighed by such danger.

       A “severe test” governs whether evidence should be excluded on needless-cumulativeness

grounds—in essence, the evidence must add “very little to the probative force of the other evidence

in the case, so that if it were admitted its contribution to the determination of truth would be out-

weighed by its contribution to the length of the trial.” See United States v. Brown, 597 F.3d 399,

406–07 (D.C. Cir. 2010) (internal quotation marks omitted). These videos do not violate this test.

To begin, the Court cannot say that they are cumulative of other videos depicting the events on

January 6 that the Government intends to introduce; no party has suggested that those videos depict

what happened to Officer Goodman and Inspector Loyd in the same way. And even assuming

these videos are cumulative of other (perhaps testimonial) evidence about what Officer Goodman

and Inspector Loyd experienced, they add no more than a few minutes to the trial.

       For these reasons, it is hereby ORDERED that the Government’s Motion in Limine to

Admit Exhibits 509 and 525, ECF No. 81, is GRANTED.

       SO ORDERED.

                                                              /s/ Timothy J. Kelly
                                                              TIMOTHY J. KELLY
                                                              United States District Judge

Date: September 18, 2022




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